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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF' FLORIDA
                                     MIAMI DIVISION

                                                                         CASE NO.: 18-23422-BKC-LMI
IN RE:
                                                                      PROCEEDING UNDERCI{APTER 1 3
CECILIA DIAZ
LAZARO DIAZ

DEBTORS

                             TRUSTEE'S MOTION TO DISMISS AND
                       CERTIFICATE OF SERVICE OF NOTICE OF'HEARING


    COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material   change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
        improperly listed tax or other claims.

   2.   The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
        letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.



   I CERTIFY    that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on b / Z+ / '2" t 't


                                                             NANCY K. NEIDICH, ESQUIRE
                                                             STANDING CFIAPTER 13 TRUSTEE
                                                             P.O. BOX 279806
                                                             MIRAMAR, FL 33027-9806

                                                             By: lsl
                                                             I adist{r-Cortez-Rodriguez, Esq
                                                                FLORIDA BAR NO: 0091727
                                                            { Amy Carrington, Esq.
                                                                FLORIDA BARNO: 101877
                                                             n            Miceli, Esq.
                                                                 Jose Ignacio
                                                                 FLORIDA BAR NO: 0077539
                  Case 18-23422-LMI   Doc 52   Filed 06/27/19   Page 2 of 4
                                          NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                     CASE NO. : 18-23422-BKC-LMI


                             CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CIIAPTER 13 TRUSTEE
P.O. BOX 219806
MIRAMAR, FL 33027-9806

By Mail:
DEBTORS
CECILIA DIAZ
LAZARO DIAZ
691 EAST 35 STREET
HIALEAH, FL 33013

Via Electronic Service:
ATTORNEY FOR DEBTORS
RICARDO R. CORONA, ESQ.
3899 NW 7 STREET
# 202-B
MIAMI, FL 33126
                         Case 18-23422-LMI                  Doc 52             Filed 06/27/19                Page 3 of 4
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    OFFICE OF THE CHAPTER 13 STANDING TRU$TEE
    SOUTHERN DISTRICT OF FLORIDA
                                                                                                 NANCY K. NEIDICH, E8QUIRT
                                                                                                 STANDING CHAPTER I3 TRUSTEE
                                                                                                 P.O. BOX 279806
                                                                                                 MIRAMAR, FL 33027-9806
                                                                                                 TELEPHONET (954) 443-4402
                                                                                                 FACSIMILBT (954) 443-4452



    May 09,2019

    zuCARDO R, CORONA, ESQ
    3899 NW 7 $TREET
    # 202-9
    MIAMI, FL 33126
    Caser I 8-23422-BKC-LMI                                   RE:CECILIA DIAZ
                                                                 LAZARO DIAZ



    Dear RICARDO R, CORONA, ESQ


    More rhan tlrirty days have passed since the clairns bar date on January 23, 2019, You have failed to file the
    Notice of Conrpliance by Attorney for Debtor required by Local Rule 2083-1(B) Clains Review Requirement'
    also lutow as Local !'orm 76.

                                                 r'Not later than 2i days after expiration of the clairns bar datc, the
    The scope of the rEview required states:
    attorney'shall exanrile, fiom records maintained by thc clerk, thc claims t'egister and all clainrs filed in the cage
                                                                                                jn
    to detei'minc whether additional action is necessary, including the filing and setvice accordance with all
    applicable rules of: (a) an amended plan if the plan has not been confirmcd;          (b) a  motiott to tnodifl the
    c'onfirmeO plarr; (c) objections to nonconforrning claims," Lgcal Rule 2083"1(BX1)

    you rnust file a Local Form 76 within twenty    (2,0) rtays of tlris letter or the Trustee may                 file   a Motion to Disrniss

    this case with prejudice for six (6) months

    Very fiuly yours,
                       Case 18-23422-LMI          Doc 52     Filed 06/27/19      Page 4 of 4


OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
SOUTHERN DISTzuCT OF FLORIDA
                                                                        NANCY I( NEIDICH, ESQUIRE
                                                                        STANDING CHAPTER 13 TRUSTEE
                                                                        P.O, BOX 279806
                                                                        MIRAMAR, FL 33027-9806
                                                                        TELEPHONE: (9sa) 443-4402
                                                                        FACSIMILE: (9sa) 443-44s2


May 09,2019

zuCAzu)O R. CORONA, ESQ
3899 NW 7 STREET
#202-B
MIAMI, FL 33126
Case   : 1 8-23422-BKC-LMI                         R_E:CECILiA DIAZ
                                                       LAZARO DIAZ



Dear RICARDO R. CORONA, ESQ



More than thirty days have passed since the claims bar date on January 23, 2019, You have failed to file the
Notice of Compliance by Attorney fbr Debtor required by Local Rule 2083-1(B) Claims Review Recluirement,
also know as Local Form 76.

'fhe scope of the review required states: "Not later than   2l days after expiration of the claims bar date, the
attorney shall examine, from records maintained by the clerk, the claims register and all claims filed in the case
to determine whether additional action is necessary, including the filing and service in accordance with all
applicable rules of: (a) an arnende<l plan if the plan has not been confirmed; (b) a motiou to modify the
confirmecl plan; (c) objections to nonconforming claims." Local Rule 2083-l(BX1)

you must file a Local Form 76 within twenty (20) days of this letter or the Trustee may file   a   Motion to Dismiss
this case with prejudice for six (6) months

Very truly yours,


Claims Administrator
